                                                 Date: February
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                                                             Case Number: 09-cr-466 (BMC) (S-5)
                                                             Judge Brian M. Cogan

  FJN:RMP
  F.# 2009R0I 065/OCDETF# NY-NYE-616

  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ----------------------------------X
   UNITED STATES OF AMERICA                                   SU PE R S E DI N G
                                                              I N DI C T M E N T
          - against-
                                                              Cr. No. 09-466 <BMC) (S-5)
   ISMAEL lAMBADA GARCIA,                                     (T. 21, U.S.C., §§ 84l(b)(l)(A)(ii)(II),
     also known as "El Mayo," "Mayo                            846, 848(a), 848(b), 848(c),
     lambada," "Doctor," "La Doc,"                             853(a), 853(p), 959(a),
     "Doctora," "El Lie," "Mike"                               959(c), 960(a)(3),
     and "Mayo El Senor,"                                      960(b)(I )(A), 960(b)(I)(B)(ii),
                                                               960(b)(1)(F), 960(b)(I)(G), 960(b)(I )(H),
                            Defendant.                         and 963; T. 18, U.S.C., §§ 2,
                                                               924(c)(I )(A)(i), 924(c)(I)(A)(ii),
                                                               924(c)(I )(A)(iii), 924(c)(1)(B)(ii),
                                                               924(d), 982, 1956(h), 3238 and 3551
                                                               et seq.)


  ----------------------------------X

  THE GRAND JURY CHARGES:

                                         INTRODUCTION

                 At all times relevant to this SupersedingIndictment, unless otherwise indicated:

                 1.      Since the late 1980s, the Mexican Federation (the "Federation") existed as

  an organized crime syndicate founded upon longstanding relationships between Mexico's major

  drug trafficking kingpins. The Federation functioned as a council with representatives from the

  respective drug trafficking organizations of its principal leaders, including the defendant

  ISMAEL lAMBADA GARCIA, also known as "El Mayo," "Mayo lambada," "Doctor," "La

  Doc," "Doctora," "El Lie," "Mike" and "Mayo El Senor," and others. During the late 1980s and

  1990s, the members of the Federation were hired b y Colombian sources of supply to transport

  drugs through Mexico and intoUnited States.
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                  2.     In the early 2000s,ISMAEL ZAMBADA GARCIA and Joaquin

   Archivaldo Guzman Loera, also known as "El Chapo,"formed a partnership that led to the

  transformation ofthe Federation into the Sinaloa Cartel, which became the largest drug

  trafficking organization in the world. The Sinaloa Cartel had a structure that included thousands

  of members, including:(a)the leadership of the Sinaloa Cartel, who were the ultimate decision

   makers in the organization with respect to its drug trafficking and money laundering activities, as

  well as its corruption and enforcement activities undertaken to preserve and protect its illegal

  activities;(b)security personnel, who protected the leadership ofthe Sinaloa Cartel and engaged

  in violent acts to further the goals of the organization;(c) plaza bosses, who controlled certain

  territories for the Sinaloa Cartel and were responsible for transporting drugs through those

  territories;(d)transporters, such as boat and submarine crews, pilots and truck drivers, who

  transported drugs from Colombia through Mexico and into the United States; and (e) money

  launderers, who funneled drug proceeds from the United States back to Mexico. While at times

  there have been rifts and infighting among the leaders of the Sinaloa Cartel, they generally

  coordinated their criminal activities, shared and controlled Mexico's trafficking routes, resolved

  conflicts over territory, minimized inter-organization violence and ensured the Sinaloa Cartel

  received official or non-official protection.

                  3.     The Sinaloa Cartel operated through cooperative arrangements and close

  coordination with South American cocaine sources of supply. The defendant ISMAEL

  ZAMBADA GARCIA and other leaders of the Sinaloa Cartel directed a large-scale narcotics

  transportation network involving the use of land, air and sea transportation assets, shipping

  multi-ton quantities of cocaine from South America, through Central America and Mexico, and

  finally into the United States. In addition, the Sinaloa Cartel manufactured and imported multi-
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  ton quantities of heroin, methamphetamine and marijuana into the United States. The vast

   majority of drugs trafficked by the Sinaloa Cartel were imported into United States, where the

  drugs were consumed. The Sinaloa Cartel used corruption as a means and method of achieving

  the goals of its drug trafficking enterprise.

                 4.      The Sinaloa Cartel's drug sales in the United States generated billions of

  dollars in profit. The drug proceeds were then laundered back to Mexico; often the drug money

  was physically transported from the United States to Mexico in vehicles containing hidden

  compartments and through other clandestine means.

                 5.      The defendant ISMAEL ZAMBADA GARCIA and other leaders ofthe

  Sinaloa Cartel also employed "sicarios," or hitmen, who carried out hundreds of acts of violence,

  including murders, assaults, kidnappings, assassinations and acts oftorture at the direction of the

  defendant. The defendant directed and ordered these acts of violence for a variety of reasons,

  including but not limited to:

                         (a)      promoting and enhancing the prestige, reputation and position of

  the Sinaloa Cartel with respect to rival criminal organizations;

                         (b)      preserving and protecting the power, territory and criminal

  ventures ofthe Sinaloa Cartel, including but not limited to the Sinaloa Cartel's control over drug

  trafficking routes over the U.S.-Mexico border;

                         (c)      enforcing discipline amongst its members and associates by

  punishing disloyalty and failure; and

                         (d)      protecting members ofthe Sinaloa Cartel from arrest and

  prosecution by silencing potential witnesses and retaliating against anyone who provided

  information or assistance to law enforcement authorities.
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                                              COUNT ONE
                                   (Continuing Criminal Enterprise)

                 6.      The allegations contained in paragraphs one through five are realleged and

  incorporated as if fully set forth in this paragraph.

                 7.      In or about and between January 1989 and January 2024, both dates being

  approximate and inclusive, within the Eastern District of New York and elsewhere, the defendant

  ISMAEL ZAMBADA GARCIA,also known as "El Mayo,""Mayo Zambada,""Doctor,""La

  Doc,""Doctora,""El Lie,""Mike" and "Mayo El Senor," together with others, did knowingly

  and intentionally engage in a continuing criminal enterprise, in that the defendant ISMAEL

  ZAMBADA GARCIA committed violations of Title 21, United States Code, Sections 841(a),

  846, 959(a) and 960(a), including Violations One through Eighty-Five set forth below, which

  violations were part of a continuing series of violations ofthose statutes undertaken by the

  defendant ISMAEL ZAMBADA GARCIA, in concert with five or more other persons, with

  respect to whom the defendant ISMAEL ZAMBADA GARCIA occupied supervisory and

  management positions, and was one of several principal administrators, organizers and leaders of

  the continuing criminal enterprise, and from which continuing series of violations the defendant

  ISMAEL ZAMBADA GARCIA obtained substantial income and resources, and which

  enterprise received in excess of$10 million in gross receipts during one or more twelve-month

  periods for the manufacture, importation and distribution of cocaine. The violations involved at

  least 300 times the quantity of a substance described in Section 841(b)(1)(B) of Title 21, United

  States Code,to wit: 150 kilograms or more of a substance containing cocaine. The continuing

  series of violations, as defined by Title 21, United States Code, Section 848(c), includes the

  following violations set forth below:
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                                  Violations One Through Twelve
                (International Cocaine Distribution with the Norte del Valle Cartel)

                 8.     On or about the dates listed below, all dates being approximate and

  inclusive, the defendant ISMAEL ZAMBADA GARCIA, together with others, did knowingly

  and intentionally distribute a controlled substance, intending and knowing that such substance

  would be unlawfully imported into the United States from a place outside thereof, which

  offenses involved a substance containing cocaine, a Schedule 11 controlled substance, in the

  amounts listed below, in violation of Title 21, United States Code, Sections 959(a), 959(c),

  960(a)(3) and 960(b)(l)(B)(ii), and Title 18, United States Code, Section 2:

     VIOLATION         APPROXIMATE AMOUNT                       DATE(S)OF OFFENSE
       NUMBER                 OF COCAINE
                       3,000 Kilograms                  December 2006 - January 2007

                       3,200 Kilograms                  January 2005

                       12,000 Kilograms                 August 2004 - September 2004

                        0,500 Kilograms                 August 2004 - September 2004

                       10,000 Kilograms                 July 2004

                        0,000 Kilograms                 May 2004- June 2004

                      800 Kilograms                     April 2004

                       10,000 Kilograms                 March 2004- April 2004

                      8,000 Kilograms                   January 2004- March 2004

                      6,465 Kilograms                   January 2004

                      6,000 Kilograms                   November 2003 — December 2003


                      3,600 Kilograms                   August 2003 — September 2003
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                               Violations Thirteen Through Sixty-Nine
               (International Cocaine Distribution with the Don Lucho Organization)

                 9.     On or about the dates listed below, all dates being approximate and

  inclusive, the defendant ISMAEL ZAMBADA GARCIA,together with others, did knowingly

  and intentionally distribute a controlled substance, intending and knowing that such substance

  would be unlawfully imported into the United States from a place outside thereof, which

  offenses involved a substance containing cocaine, a Schedule II controlled substance, in the

  amounts listed below, in violation of Title 21, United States Code, Sections 959(a), 959(c),

  960(a)(3) and 960(b)(l)(B)(ii), and Title 18, United States Code, Section 2:

     VIOLATION         APPROXIMATE AMOUNT                       DATE(S)OF OFFENSE
       NUMBER                 OF COCAINE
                        ,302 Kilograms                  May 2,2010

                       5,000 Kilograms                  December 29, 2008

                       3,900 Kilograms                  July 15,2008

                       3,600 Kilograms                  May 10, 2008

                       2,132 Kilograms                  November 11, 2007

                      4,336 Kilograms                   April 15,2007

                        ,870 Kilograms                  January 15, 2007

                       3,000 Kilograms                  November 12, 2006

                       1,420 Kilograms                  November 12, 2006

                      2,100 Kilograms                   November 10, 2006

                      6,000 Kilograms                   September 23, 2006

                       3,000 Kilograms                  September 19, 2006

                      4,140 Kilograms                   August 28,2006
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     VIOLATION    APPROXIMATE AMOUNT              DATE(S)OF OFFENSE
         NUMBER         OF COCAINE
    26            2,463 Kilograms          July 8, 2006

    27            1,465 Kilograms          May 21,2006

    28            2,800 Kilograms          May 7, 2006

    29            3,048 Kilograms          April 9, 2006

    30            2,100 Kilograms          April 4, 2006

    31            818 Kilograms            April 4, 2006

    32            2,800 Kilograms          February 7, 2006

    33            4,467 Kilograms          January 13, 2006

    34            1,567 Kilograms          January 11, 2006

    35            811 Kilograms            November 30, 2005

    36            2,000 Kilograms          August 26, 2005

    37            2,040 Kilograms          August 23, 2005

    38            1,902 Kilograms          July 28, 2005

    39            1,300 Kilograms          July 27, 2005

    40 .          3,971 Kilograms          July 23, 2005

    41            1,700 Kilograms          July 11,2005

    42            1,100 Kilograms          July 9, 2005

    43            3,120 Kilograms          July 8, 2005

    44            4,000 Kilograms          July 6, 2005

    45            1,500 Kilograms          June 10, 2005

    46            1,811 Kilograms          June 2, 2005

    47            2,500 Kilograms          May 24, 2005
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     VIOLATION    APPROXIMATE AMOUNT              DATE(S)OF OFFENSE
      NUMBER            OF COCAINE
                  4,127 Kilograms          April 4, 2005

                  2,000 Kilograms          March 16, 2005

                  3,980 Kilograms          March 11,2005

                  2,000 Kilograms          February 12, 2005

                  1,850 Kilograms          December 22, 2004

                  1,589 Kilograms          December 20, 2004

                  1,850 Kilograms          November 11, 2004

                  1,830 Kilograms          September 13, 2004

                  1,888 Kilograms          July 29, 2004

                  1,800 Kilograms          December 7, 2003

                  234 Kilograms            October 4,2003

                  265 Kilograms            August 13, 2003

                  700 Kilograms            July 26, 2003

                  300 Kilograms            June 26, 2003

                  288 Kilograms            June 19, 2003

                  300 Kilograms            June 10, 2003

                  300 Kilograms            May 31,2003

                  1,817 Kilograms          May 31,2003

                  2,200 Kilograms          May 14, 2003

                  415 Kilograms            April 21, 2003

                  460 Kilograms            April 7, 2003

                  1,500 Kilograms          January 15, 2003
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                              Violations Seventy Through Seventy-Two
              (International Cocaine Distribution with the Cifuentes-Villa Organization)

                 10.     On or about the dates listed below, all dates being approximate and

   inclusive, the defendant ISMAEL ZAMBADA GARCIA,together with others, did knowingly

  and intentionally distribute a controlled substance, intending and knowing that such substance

   would be unlawfully imported into the United States from a place outside thereof, which

  offenses involved a substance containing cocaine, a Schedule II controlled substance, in the

  amounts listed below, in violation of Title 21, United States Code, Sections 959(a), 959(c),

  960(a)(3) and 960(b)(l)(B)(ii), and Title 18, United States Code, Section 2:

      VIOLATION        APPROXIMATE AMOUNT                       DATE(S)OF OFFENSE
          NUMBER              OF COCAINE
     70                450 Kilograms                    December 2008


     71                400 Kilograms                    February 3, 2006

     72                2,000 Kilograms                  January 25, 2004


                          Violations Seventv-Three Through Seventv-Eight
             (International Cocaine Distribution with Other South American Suppliers)

                 11.     On or about the dates listed below, all dates being approximate and

  inclusive, the defendant ISMAEL ZAMBADA GARCIA, together with others, did knowingly

  and intentionally distribute a controlled substance, intending and knowing that such substance

   would be unlawfully imported into the United States from a place outside thereof, which

  offenses involved a substance containing cocaine, a Schedule II controlled substance, in the

  amounts listed below, in violation of Title 21, United States Code, Sections 959(a), 959(c),

  960(a)(3) and 960(b)(l)(B)(ii), and Title 18, United States Code, Section 2:
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      VIOLATION         APPROXIMATE AMOUNT                        DATE(S)OF OFFENSE
          NUMBER                   OF COCAINE
     73                 373 Kilograms                     January 15, 2014

     74                 456 Kilograms                     June 6, 2013

     75                  1,000 Kilograms                  October 7, 2009

     76                 4,716 Kilograms                   September 13, 2008

     77                 5,000 Kilograms                   September 9, 2008 - September 12, 2008

     78                  19,000 Kilograms                 March 18, 2007



                               Violations Seventv-Nine Through Eiahtv-Four
                                    (Cocaine and Heroin Distribution)

                  12.     On or about the dates listed below, all dates being approximate and

   inclusive, the defendant ISMAEL ZAMBADA GARCIA,together with others, did knowingly

   and intentionally distribute and possess with intent to distribute one or more controlled

   substances, which offenses involved (i) a substance containing cocaine, a Schedule 11 controlled

   substance, and (ii) a substance containing heroin, a Schedule I controlled substance, in the

   amounts listed below, in violation of Title 21, United States Code, Sections 841(a)(1),

   841(b)(l)(A)(i) and 841(b)(l)(A)(ii)(II), and Title 18, United States Code, Section 2:

     VIOLATION             JURISDICTION                APPROXIMATE                    DATE(S)OF
       NUMBER                                           AMOUNT OF                     OFFENSES
                                                       CONTROLLED
                                                        SUBSTANCES
                        District of Arizona        25 Kilograms of cocaine      September 27, 2013
                        District of New Jersey     511 Kilograms of             September 4, 2004
                                                   cocaine; and 3 Kilograms
                                                   of heroin
                        Eastern District of New    1,997 Kilograms of           January 28, 2003
                        York                       cocaine

                        Northern District of       1,925 Kilograms of           August 16, 2002
                        Illinois                   cocaine
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      VIOLATION             JURISDICTION                   APPROXIMATE                DATE(S)OF
       NUMBER                                              AMOUNT OF                   OFFENSES
                                                           CONTROLLED
                                                           SUBSTANCES
     83                  Eastern District of New     1,923 Kilograms of         May 24, 2002
                         York                        cocaine

     84                  Western District of         1,100 Kilograms of         September 15, 1999
                         Texas                       cocaine




                                           Violation Eightv-Five
               (Murder Conspiracy - Persons Who Posed a Threat to the Sinaloa Cartel)

                   13.     In or about and between January 1989 and January 2024, both dates being

   approximate and inclusive, the defendant ISMAEL ZAMBADA GARCIA,together with others,

   while engaged in one or more offenses punishable under Sections 841(b)(1)(A) and 960(b)(1) of

   Title 21 of the United States Code, to wit: the crimes charged in Counts Two through Four, did

   knowingly and intentionally conspire to kill and cause the intentional killing of one or more

   persons, to wit: persons who posed a threat to the Sinaloa Cartel, and such killings did result,

   contrary to Title 21, United States Code, Section 848(e)(1)(A), in violation of Title 21, United

   States Code, Section 846.

                  (Title 21, United States Code, Sections 848(a), 848(b) and 848(c); Title 18,

   United States Code, Sections 2, 3238 and 3551 et seq.)

                                               COUNTTWO
                          (International Cocaine, Heroin, Methamphetamine,
                   Marijuana and Fentanyl Manufacture and Distribution Conspiracy)

                   14.     The allegations contained in paragraphs one through five are realleged and

   incorporated as if fully set forth in this paragraph.

                   15.     In or about and between January 1989 and January 2024, both dates being

   approximate and inclusive, the defendant ISMAEL ZAMBADA GARCIA,also known as "El

   Mayo,""Mayo Zambada,""Doctor,""La Doc,""Doctora,""El Lie,""Mike" and "Mayo El
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   Senor," together with others, did knowingly and intentionally conspire to manufacture and

   distribute one or more controlled substances, which offense involved:(a) a substance containing

   cocaine, a Schedule II controlled substance;(b)a substance containing heroin, a Schedule I

   controlled substance;(c)a substance containing methamphetamine, a Schedule II controlled

   substance;(d)a substance containing marijuana, a Schedule I controlled substance; and (e)a

   substance containing N-phenyl-N-[l-(2-phenylethyl)-4-piperidinyl] propanamide ("fentanyl"), a

   Schedule II controlled substance intending and knowing that such substances would be

   unlawfully imported into the United States from a place outside thereof, contrary to Title 21,

   United States Code, Sections 959(a) and 960(a)(3). The amount of cocaine involved in the

   conspiracy attributable to the defendant as a result of his own conduct, and the conduct of other

   conspirators reasonably foreseeable to him, was at least five kilograms or more of a substance

   containing cocaine. The amount of heroin involved in the conspiracy attributable to the

   defendant as a result of his own conduct, and the conduct of other conspirators reasonably

   foreseeable to him, was at least one kilogram or more of a substance containing heroin. The

   amount of methamphetamine involved in the conspiracy attributable to the defendant as a result

   of his own conduct, and the conduct of other conspirators reasonably foreseeable to him, was at

   least 500 grams or more of a mixture or substance containing methamphetamine. The amount of

   marijuana involved in the conspiracy attributable to the defendant as a result of his own conduct,

   and the conduct of other conspirators reasonably foreseeable to him, was at least one thousand

   kilograms of a substance containing marijuana. The amount offentanyl involved in the

   conspiracy attributable to the defendant as a result of his own conduct, and the conduct of others
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   reasonably foreseeable to him, was at least 400 grams or more of a substance containing

   fentanyl.

                  (Title 21, United States Code, Sections 960(b)(1)(A), 960(b)(l)(B)(ii),

   960(b)(1)(F), 960(b)(1)(G), 960(b)(1)(H) and 963; Title 18, United States Code, Sections 3238

   and 3551 et seq.)

                                             COUNT THREE
                                   (Cocaine Importation Conspiracy)

                   16.    The allegations contained in paragraphs one through five are realleged and

   incorporated as if fully set forth in this paragraph.

                   17.    In or about and between January 1989 and January 2024, both dates being

   approximate and inclusive, within the Eastern District of New York and elsewhere, the defendant

   ISMAEL ZAMBADA GARCIA,also known as "El Mayo,""Mayo Zambada,""Doctor,""La

   Doc,""Doctora,""El Lie,""Mike" and "Mayo El Senor," together with others, did knowingly

   and intentionally conspire to import a controlled substance into the United States from a place

   outside thereof, which offense involved a substance containing cocaine, a Schedule II controlled

   substance, contrary to Title 21, United States Code, Sections 952(a) and 960(a)(1). The amount

   of cocaine involved in the conspiracy attributable to the defendant as a result of his own conduct,

   and the conduct of other conspirators reasonably foreseeable to him, was at least five kilograms

   or more of a substance containing cocaine.

                  (Title 21, United States Code, Sections 960(b)(l)(B)(ii) and 963; Title 18, United

   States Code, Sections 3551 et seq.)

                                              COUNTFOUR
                                   (Cocaine Distribution Conspiracy)

                   18.    The allegations contained in paragraphs one through five are realleged and

   incorporated as iffully set forth in this paragraph.
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                   19.    In or about and between January 1989 and January 2024, both dates being

   approximate and inclusive, within the Eastern District of New York and elsewhere, the defendant

   ISMAEL ZAMBADA GARCIA,also known as "El Mayo,""Mayo Zambada,""Doctor,""La

   Doc,""Doctora,""El Lie,""Mike" and "Mayo El Senor," together with others, did knowingly

   and intentionally conspire to distribute and possess with intent to distribute a controlled

   substance, which offense involved a substance containing cocaine, a Schedule H controlled

   substance, contrary to Title 21, United States Code, Section 841(a)(1). The amount of cocaine

   involved in the conspiracy attributable to the defendant as a result of his own conduct, and the

   conduct of other conspirators reasonably foreseeable to him, was at least five kilograms or more

   ofa substance containing cocaine.

                  (Title 21, United States Code, Sections 846 and 841(b)(l)(A)(ii)(II); Title 18,

   United States Code, Sections 3551 et seq.J

                                              COUNT FIVE
                                (International Distribution of Cocaine -
                               Approximately 373 Kilograms of Cocaine)

                  20.     The allegations contained in paragraphs one through five are realleged and

   incorporated as if fully set forth in this paragraph.

                  21.     On or about January 15, 2014, the defendant ISMAEL ZAMBADA

   GARCIA,also known as "El Mayo,""Mayo Zambada,""Doctor,""La Doc,""Doctora,""El

   Lie,""Mike" and "Mayo El Senor," together with others, did knowingly and intentionally

   distribute a controlled substance, intending and knowing that such substance would be

   unlawfully imported into the United States from a place outside thereof, which offense involved

   five kilograms or more of a substance containing cocaine, a Schedule II controlled substance.

                  (Title 21, United States Code, Sections 959(a), 959(c), 960(a)(3) and

   960(b)(l)(B)(ii); Title 18, United States Code, Sections 2, 3238 and 3551 et seo.J
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                                               COUNT SIX
                                       (Cocaine Distribution -
                                Approximately 25 Kilograms of Cocaine)

                  22.     The allegations contained in paragraphs one through five are realleged and

   incorporated as if fully set forth in this paragraph.

                  23.     On or about September 27,2013, the defendant ISMAEL ZAMBADA

   GARCIA,also known as "El Mayo,""Mayo Zambada,""Doctor,""La Doc,""Doctora,""El

   Lie,""Mike" and "Mayo El Senor," together with others, did knowingly and intentionally

   distribute a controlled substance, intending and knowing that such substance would be

   unlawfully imported into the United States from a place outside thereof, which offense involved

   five kilograms or more of a substance containing cocaine, a Schedule II controlled substance.

                  (Title 21, United States Code, Sections 959(a), 959(c), 960(a)(3) and

   960(b)(l)(B)(ii); Title 18, United States Code, Sections 2, 3238 and 3551 et seq.^

                                             COUNT SEVEN
                                (International Distribution of Cocaine -
                               Approximately 456 Kilograms of Cocaine)

                  24.     The allegations contained in paragraphs one through five are realleged and

   incorporated as iffully set forth in this paragraph.

                  25.     On or about June 6,2013, the defendant ISMAEL ZAMBADA GARCIA,

   also known as "El Mayo,""Mayo Zambada,""Doctor,""La Doc,""Doctora,""El Lie,""Mike"

   and "Mayo El Senor," together with others, did knowingly and intentionally distribute a

   controlled substance, intending and knowing that such substance would be unlawfully imported

   into the United States from a place outside thereof, which offense involved five kilograms or

   more of a substance containing cocaine, a Schedule 11 controlled substance.

                  (Title 21, United States Code, Sections 959(a), 959(c), 960(a)(3) and

   960(b)(l)(B)(ii); Title 18, United States Code, Sections 2, 3238 and 3551 et seo.J
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                                             COUNT EIGHT
                                 (International Distribution of Cocaine -
                               Approximately 1,302 Kilograms of Cocaine)

                  26.     The allegations contained in paragraphs one through five are realleged and

   incorporated as if fully set forth in this paragraph.

                  27.     On or about May 2,2010, the defendant ISMAEL ZAMBADA GARCIA,

   also known as "El Mayo,""Mayo Zambada,""Doctor,""La Doc,""Doctora,""El Lie,""Mike"

   and "Mayo El Senor," together with others, did knowingly and intentionally distribute a

   controlled substance, intending and knowing that such substance would be unlawfully imported

   into the United States from a place outside thereof, which offense involved five kilograms or

   more of a substance containing cocaine, a Schedule II controlled substance.

                  (Title 21, United States Code, Sections 959(a), 959(c), 960(a)(3) and

   960(b)(l)(B)(ii); Title 18, United States Code, Sections 2, 3238 and 3551 et seq.)

                                              COUNT NINE
                                (International Distribution of Cocaine -
                              Approximately 1,000 Kilograms of Cocaine)

                  28.     The allegations contained in paragraphs one through five are realleged and

   incorporated as if fully set forth in this paragraph.

                  29.     On or about October 7,2009, the defendant ISMAEL ZAMBADA

   GARCIA,also known as "El Mayo,""Mayo Zambada,""Doctor,""La Doc,""Doctora,""El

   Lie,""Mike" and "Mayo El Senor," together with others, did knowingly and intentionally

   distribute a controlled substance, intending and knowing that such substance would be

   unlawfully imported into the United States from a place outside thereof, which offense involved

   five kilograms or more of a substance containing cocaine, a Schedule II controlled substance.

                  (Title 21, United States Code, Sections 959(a), 959(c), 960(a)(3) and

   960(b)(l)(B)(ii); Title 18, United States Code, Sections 2, 3238 and 3551 et sea.)
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                                              COUNT TEN
                                (International Distribution of Cocaine -
                               Approximately 450 Kilograms of Cocaine)

                  30.     The allegations contained in paragraphs one through five are realleged and

   incorporated as iffully set forth in this paragraph.

                  31.     In or about December 2008, the defendant ISMAEL ZAMBADA

   GARCIA,also known as "El Mayo,""Mayo Zambada,""Doctor,""La Doc,""Doctora,""El

   Lie,""Mike" and "Mayo El Senor," together with others, did knowingly and intentionally

   distribute a controlled substance, intending and knowing that such substance would be

   unlawfully imported into the United States from a place outside thereof, which offense involved

   five kilograms or more of a substance containing cocaine, a Schedule II controlled substance.

                  (Title 21, United States Code, Sections 959(a), 959(c), 960(a)(3) and

   960(b)(l)(B)(ii); Title 18, United States Code, Sections 2, 3238 and 3551 et seq.)

                                           COUNT ELEVEN
                                (International Distribution of Cocaine -
                               Approximately 400 Kilograms of Cocaine)

                  32.     The allegations contained in paragraphs one through five are realleged and

   incorporated as iffully set forth in this paragraph.

                  33.     On or about February 3,2006, the defendant ISMAEL ZAMBADA

   GARCIA,also known as "El Mayo,""Mayo Zambada,""Doctor,""La Doc,""Doctora,""El

   Lie,""Mike" and "Mayo El Senor," together with others, did knowingly and intentionally

   distribute a controlled substance, intending and knowing that such substance would be

   unlawfully imported into the United States from a place outside thereof, which offense involved

   five kilograms or more of a substance containing cocaine, a Schedule II controlled substance.

                  (Title 21, United States Code, Sections 959(a), 959(c), 960(a)(3) and

   960(b)(l)(B)(ii); Title 18, United States Code, Sections 2, 3238 and 3551 et sea.)
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                                           COUNT TWELVE
                               (International Distribution of Cocaine -
                             Approximately 12,000 Kilograms of Cocaine)

                  34.     The allegations contained in paragraphs one through five are realleged and

   incorporated as iffully set forth in this paragraph.

                  35.     In or about September 2004, the defendant ISMAEL ZAMBADA

   GARCIA,also known as "El Mayo,""Mayo Zambada,""Doctor,""La Doc,""Doctora,""El

   Lie,""Mike" and "Mayo El Senor," together with others, did knowingly and intentionally

   distribute a controlled substance, intending and knowing that such substance would be

   unlawfully imported into the United States from a place outside thereof, which offense involved

   five kilograms or more of a substance containing cocaine, a Schedule II controlled substance.

                  (Title 21, United States Code, Sections 959(a), 959(c), 960(a)(3) and

   960(b)(l)(B)(ii); Title 18, United States Code, Sections 2, 3238 and 3551 et seq.)

                                          COUNT THIRTEEN
                               (International Distribution of Cocaine -
                             Approximately 10,500 Kilograms of Cocaine)

                  36.     The allegations contained in paragraphs one through five are realleged and

   incorporated as iffully set forth in this paragraph.

                  37.     In or about August 2004 and September 2004, both dates being

   approximate and inclusive, the defendant ISMAEL ZAMBADA GARCIA,also known as "El

   Mayo,""Mayo Zambada,""Doctor,""La Doc,""Doctora,""El Lie,""Mike" and "Mayo El

   Senor," together with others, did knowingly and intentionally distribute a controlled substance,

   intending and knowing that such substance would be unlawfully imported into the United States
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   from a place outside thereof, which offense involved five kilograms or more of a substance

   containing cocaine, a Schedule II controlled substance.

                  (Title 21, United States Code, Sections 959(a), 959(c), 960(a)(3) and

   960(b)(l)(B)(ii); Title 18, United States Code, Sections 2, 3238 and 3551 et seq.)

                                          COUNT FOURTEEN
                                (International Distribution of Cocaine -
                              Approximately 8,000 Kilograms of Cocaine)

                  38.     The allegations contained in paragraphs one through five are realleged and

   incorporated as if fully set forth in this paragraph.

                  39.     In or about and between January 2004 and March 2004, both dates being

   approximate and inclusive, the defendant ISMAEL ZAMBADA GARCIA,also known as "El

   Mayo,""Mayo Zambada,""Doctor,""La Doc,""Doctora,""El Lie,""Mike" and "Mayo El

   Senor," together with others, did knowingly and intentionally distribute a controlled substance,

   intending and knowing that such substance would be unlawfully imported into the United States

   from a place outside thereof, which offense involved five kilograms or more of a substance

   containing cocaine, a Schedule II controlled substance.

                  (Title 21, United States Code, Sections 959(a), 959(c), 960(a)(3) and

   960(b)(l)(B)(ii); Title 18, United States Code, Sections 2, 3238 and 3551 et seq.)

                                            COUNT FIFTEEN
                                (International Distribution of Cocaine -
                              Approximately 2,000 Kilograms of Cocaine)

                  40.     The allegations contained in paragraphs one through five are realleged and

   incorporated as iffully set forth in this paragraph.

                  41.     On or about January 25,2004, the defendant ISMAEL ZAMBADA

   GARCIA,also known as "El Mayo,""Mayo Zambada,""Doctor,""La Doc,""Doctora,""El

   Lie,""Mike" and "Mayo El Senor," together with others, did knowingly and intentionally
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   distribute a controlled substance, intending and knowing that such substance would be

   unlawfully imported into the United States from a place outside thereof, which offense involved

   five kilograms or more of a substance containing cocaine, a Schedule II controlled substance.

                  (Title 21, United States Code, Sections 959(a), 959(c), 960(a)(3) and

   960(b)(I)(B)(ii); Title 18, United States Code, Sections 2, 3238 and 3551 et sqq.)

                                            COUNT SIXTEEN
                                            (Use of Firearms)

                  42.     The allegations contained in paragraphs one through five are realleged and

   incorporated as if fully set forth in this paragraph.

                  43.     In or about and between January 1989 and January 2024, both dates being

   approximate and inclusive, within the Eastern District of New York and elsewhere, the defendant

   ISMAEL ZAMBADA GARCIA,also known as "El Mayo,""Mayo Zambada,""Doctor,""La

   Doc,""Doctora,""El Lie,""Mike" and "Mayo El Senor," together with others, did knowingly

   and intentionally use and carry one or more firearms during and in relation to one or more drug

   trafficking crimes, to wit: the crimes charged in Counts One through Four, and did knowingly

   and intentionally possess such firearms in furtherance of said drug trafficking crimes, one or

   more of which firearms was brandished and discharged and one or more of which firearms was a

   machinegun.

                  (Title 18, United States Code, Sections 924(c)(l)(A)(i), 924(c)(I)(A)(ii),

   924(c)(l)(A)(iii), 924(c)(I)(B)(ii), 2 and 3551 ^^.)

                                         COUNT SEVENTEEN
                              (Conspiracy to Launder Narcotics Proceeds)

                  44.     The allegations contained in paragraphs one through five are realleged and

   incorporated as iffully set forth in this paragraph.
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                  45.     In or about and between January 1989 and January 2024, both dates being

   approximate and inclusive, within the Eastern District of New York and elsewhere, the defendant

   ISMAEL ZAMBADA GARCIA,also known as "El Mayo,""Mayo Zambada,""Doctor,""La

   Doc,""Doctora,""El Lie,""Mike" and "Mayo El Senor," together with others, did knowingly

   and intentionally conspire to:(i) conduct one or more financial transactions in and affecting

   interstate and foreign commerce,to wit: the transfer and delivery of United States currency,

   which transactions in fact involved the proceeds of specified unlawful activity, to wit: narcotics

   trafficking, in violation of Title 21, United States Code, Sections 841(a)(1), 846, 848, 952(a),

   959 and 963, knowing that the property involved in the transactions represented the proceeds of

   some form of unlawful activity,(a) with the intent to promote the carrying on of the specified

   unlawful activity, contrary to Title 18, United States Code, Section 1956(a)(l)(A)(i), and (b)

   knowing that the transactions were designed in whole and in part to conceal and disguise the

   nature, the location, the source,the ownership and the control ofthe proceeds ofthe specified

   unlawful activity, and to avoid one or more transaction reporting requirements, contrary to Title

   18, United States Code, Section 1956(a)(1)(B); and (ii) transport, transmit and transfer monetary

   instruments and funds from a place in the United States to and through one or more places

   outside the United States, to wit: Mexico and Colombia,(a) with the intent to promote the

   carrying on ofthe specified unlawful activity, contrary to Title 18, United States Code, Section

   1956(a)(2)(A), and (b)knowing that the funds represented the proceeds ofsome form of

   unlawful activity and knowing that the transportation, transmission and transfer were designed in

   whole and in part to conceal and disguise the nature, the location, the source,the ownership and

   the control ofthe proceeds of the specified unlawful activity, and to avoid one or more
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   transaction reporting requirements, contrary to Title 18, United States Code, Section

   1956(a)(2)(B).

                  (Title 18, United States Code, Sections 1956(h) and 3551 et seq.)

                               CRIMINAL FORFEITURE ALLEGATION
                                          AS TO COUNT ONE
                                   (Continuing Criminal Enterprise)

                  46.     The United States hereby gives notice to the defendant that, upon

   conviction of the offense charged in Count One,the government will seek forfeiture in

   accordance with Title 21, United States Code, Section 853(a), which requires any person

   convicted of such offense to forfeit any property constituting, or derived from, proceeds

   obtained, directly or indirectly, and any property used, or intended to be used, in any manner or

   part, to commit, or to facilitate the commission of, such offense, and any oftheir interest in,

   claims against, and property or contractual rights affording a source of control over, the

   continuing criminal enterprise, including but not limited to at least approximately a sum of

   money equal to $14 billion in United States currency.

                  47.     If any ofthe above-described forfeitable property, as a result of any act or

   omission ofthe defendant:


                         (a)     cannot be located upon the exercise of due diligence;

                         (b)      has been transferred or sold to, or deposited with, a third party;

                         (c)      has been placed beyond the jurisdiction of the court;

                         (d)      has been substantially diminished in value; or

                         (e)      has been commingled with other property which cannot be divided

   without difficulty;

   it is the intent ofthe United States, pursuant to Title 21, United States Code, Section 853(p), to
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   seek forfeiture of any other property ofthe defendant up to the value ofthe forfeitable property

   described in this forfeiture allegation.

                  (Title 21, United States Code, Sections 853(a) and 853(p))

                                CRIMINAL FORFEITURE ALLEGATION
                             AS TO COUNTS TWO THROUGH FIFTEEN
             (Cocaine, Heroin, Methamphetamine, Marijuana and/or Fentanyl Trafficking)

                  48.     The United States hereby gives notice to the defendant that, upon

   conviction of any of the offenses charged in Counts Two through Fifteen, the government will

   seek forfeiture in accordance with Title 21, United States Code, Section 853, which requires any

   person convicted of such offenses to forfeit any property constituting, or derived from, proceeds

   obtained, directly or indirectly, and any property used, or intended to be used, in any manner or

   part, to commit, or to facilitate the commission of, such offenses including but not limited to at

   least approximately a sum of$14 billion in United States currency.

                  49.     If any ofthe above-described forfeitable property, as a result of any act or

   omission of the defendant:


                          (a)     cannot be located upon the exercise of due diligence;

                          (b)     has been transferred or sold to, or deposited with, a third party;

                          (c)     has been placed beyond the jurisdiction ofthe court;

                          (d)     has been substantially diminished in value; or

                          (e)     has been commingled with other property which cannot be divided

   without difficulty;

   it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), to

   seek forfeiture of any other property ofthe defendant up to the value ofthe forfeitable property

   described in this forfeiture allegation.

                  (Title 21, United States Code, Sections 853(a) and 853(p))
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                CRIMINAL FORFEITURE ALLEGATION AS TO COUNT SIXTEEN
                         (Use of Firearms in Furtherance of Drug Trafficking)

                  50.     The United States hereby gives notice to the defendant that, upon his

   conviction ofthe offense charged in Count Sixteen, the government will seek forfeiture in

   accordance with Title 21, United States Code, Section 924(d), which requires any person

   convicted of such offense to forfeit any firearm or ammunition involved in or used in any

   knowing violation of such offense.

                  51.     If any ofthe above-described forfeitable property, as a result of any act or

   omission ofthe defendant:


                          (a)     cannot be located upon the exercise of due diligence;

                          (b)     has been transferred or sold to, or deposited with, a third party;

                          (c)     has been placed beyond the jurisdiction ofthe court;

                          (d)     has been substantially diminished in value; or

                          (e)     has been commingled with other property which cannot be divided

   without difficulty;

   it is the intent ofthe United States, pursuant to Title 21, United States Code, Section 853(p), to

   seek forfeiture of any other property ofthe defendant up to the value of the forfeitable property

   described in this forfeiture allegation.

                  (Title 21, United States Code, Sections 853(p)and 924(d))
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                               CRIMINAL FORFEITURE ALLEGATION
                                     AS TO COUNT SEVENTEEN
                                          (Money Laundering)

                  52.     The United States hereby gives notice to the defendant that, upon

   conviction ofthe offense charged in Count Seventeen, the government will seek forfeiture in

   accordance with Title 18, United States Code, Section 982, of all property involved in such

   offense, and all property traceable to such property, including but not limited to at least

   approximately a sum of$14 billion in United States currency.

                  53.     If any ofthe above-described forfeitable property, as a result of any act or

   omission of the defendant:


                         (a)      cannot be located upon the exercise of due diligence;

                         (b)      has been transferred or sold to, or deposited with, a third party;

                         (c)      has been placed beyond the jurisdiction ofthe court;

                         (d)      has been substantially diminished in value; or

                         (e)      has been commingled with other property which cannot be divided

   without difficulty;

   it is the intent ofthe United States, pursuant to Title 18, United States Code, Section 982,to seek
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   forfeiture of any other property ofthe defendant up to the value ofthe forfeitable property

   described in this forfeiture allegation.

                  (Title 18, United States Code, Section 982)




                                                                A TRUE BILL




                                                       BREON PEACE
                                                        UNITED STATES ATTORNEY
                                                       EASTERN DISTRICT OF NEW YORK
                                                                      Digitally signed by MARLON
                                                        MARLON        COBAR
                                                                      Date:2024.0U3 1S£0:44
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                                                       MARLON COBAR
                                                       CHIEF
                                                       NARCOTIC & DANGEROUS DRUG
                                                       SECTION, CRIMINAL DIVISION
                                                       U.S. DEPARTMENT OF JUSTICE



                                                        OF COUNSEL:

                                                        MARKENZY LAPOINTE
                                                        UNITED STATES ATTORNEY
                                                        SOUTHERN DISTRICT OF FLORIDA
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F.#: 2009R01065/OCDETF# NY-NYE-616

FORMDBD-34                           No.
JUN. 85



                                            UNITED STATES DISTRICT COURT

                                                          EASTERN District of NEW YORK

                                                                   CRIMINAL DIVISION


                                                            THE UNITED STATES OF AMERICA




                                                                ISMAEL ZAMBADA GARCIA,

                                                                                                                  Defendant.


                                                                       INDICTMENT
                                     (T. 21, U.S.C.,§§ 841(b)(1)(A)(ii)(n), 846, 848(a), 848(b), 848(c), 853(a), 853(p),
                                     959(a), 959(0), 960(a)(3), 960(b)(1)(A), 960(b)(l)(B)(ii), 960(b)(1)(F), 960(b)(1)(G),
                                     960(b)(1)(H), and 963; T. 18, U.S.C., §§ 2,924(c)(l)(A)(i), 924(c)(l)(A)(ii),
                                     924(c)(l)(A)(iii), 924(c)(l)(B)(ii), 924(d), 982, 1956(h), 3238 and 3551 et^.)




                                     Filed in open court this                          day,

                                     of                         A.D.20


                                                                                                                          Clerk




                                     Bail, $


                                               Robert M.Pollack, Assistant U.S. Attorney (718)254-6232
